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                       UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                                     WACO
                                     WACO DIVISION


UNITED STATES OF AMERICA                         §
                                                 §      CRIMINAL NO:
vs.                                              §      WA:01-CR-00164(1)-ADA
                                                 §      WA:20-CV-527-ADA
 1 SHERMAN LAMONT FIELDS                         §

                 ORDER SETTING SENTENCING BY ZOOM


                                                                          set for
        IT IS HEREBY ORDERED that the above entitled and numbered case is set

SENTENCING BY ZOOM in District Courtroom #1, on the Third Floor of the United States

Courthouse, 800 Franklin Ave, Waco, TX, on Wednesday, April 07, 2021 at 01:30 PM. The

link for this hearing will be sent by e-mail

                                                                        a copy              to

counsel for defendant, the United States Attorney, United States Pretrial Services and the United

States Probation Office. Counsel for the defendant shall notify the defendant of this setting and,

if the defendant is on bond, advise the defendant to be present at this proceeding.

      IT IS FINALLY ORDERED that in the event the services of a court interpreter are

required, counsel for the defendant shall notify the U.S. District Clerk's Office within five days

of the date of the hearing.

        IT IS SO ORDERED this 15th day of January, 2021.




                                                 Alan D Albright
                                                 UNITED STATES DISTRICT JUDGE
